                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA,                    )
                                              )    No. 17 CR 83 (RNC)
                    Plaintiff,                )
                                              )    May 19, 2020
              vs.                             )
                                              )
 PETER YURYEVICH LEVASHOV,                    )
                                              )
                                              )
                 Defendant.                   )


   DEFENDANTS UNOPPOSED MOTION TO CONTINUE SENTENCING

      Now comes the defendant, Peter Yuryevich Levashov, by and through his

undersigned attorney, and respectfully requests this Honorable Court to continue

his sentencing to Monday, January 25, 2021 or Tuesday, January 26, 2021. In

support, the following is offered:

      1.     Mr. Levashov’s sentencing is currently set for June 16, 2020. At the

time this sentencing date was scheduled, the United States was yet to be engulfed by

the COVID-19 pandemic. Since March 2020, both Connecticut and Illinois (defense

counsel’s home state) have been under stay-at-home orders.

      2.     The stay-at-home orders have not only prevented the Presentence

Investigation report from being completed, but has prevent the undersigned the

undersigned sufficiently preparing for the sentencing hearing as it has been

impossible meet with Mr. Levashov to go over the nuances of his case as they relate
to sentencing and to meet with the Assistant United States Attorneys to iron out

some last-minute outstanding discovery issues.

      3.     Furthermore, with the possibility of an extended term of imprisonment

pending looming over Mr. Levashav, the unpredictable spread of COVID-19 through

the Bureau of Prisons, and the well-document lack of resources many of the facilities

have been faced with, it would be prudent for Mr. Levashov to remain in his present

accommodation, as to this point he has been able to avoid infection.

      4.     Based on the uncertainty of the COVID-19 pandemic and the

undersigned’s trial schedule, it is respectfully requested that Mr. Levashov’s

sentencing be rescheduled to the week of January 25, 2021. This would allow for

sufficient time to conclude all pending issues relate to sentencing and – hopefully –

allow time for the COVID-19 pandemic to subside to a manageable level.

      5.     The undersigned is scheduled to begin a jury trial on January 11, 2021

in the matter of United States v. Oscar Dillon III, et al., 15-CR-404 (E.D.Mo.) which

is expected to last up to two weeks. Additionally, the undersigned is scheduled to

begin a jury trial on the first week of February in the matter of United States v.

Antonio Salgado, et al., 16-CR-53 (N.D.Ill.) which is expected to last approximately

two-and-a-half weeks. As such, given the limited time between the two trials, the

undersigned respectfully requests that the sentencing be held the week of January

25, 2021 to allow as expeditious conclusion to this matter as possible. If it would not

inconvenience this Honorable Court’s schedule, the undersigned would request that

the sentencing be scheduled for either Monday, January 25, 2021 or Tuesday,



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January 26, 2021 as to allow him to resume his trial preparations and attend the

final pretrial conference in in the matter of United States v. Antonio Salgado, et al.

which will presumable be in the latter half of the week.

      6.     The undersigned has spoken to Assistant United States Attorney

Vanessa Richards who indicated she has no objection to the instant request to

continue Mr. Levashov’s sentencing to the week of January 25, 2021.

      Wherefore, for the reasons stated above, the defendant, Peter Yuryevich

Levashov, respectfully requests that this Honorable Court continue his sentencing

hearing to either Monday, January 25, 2021 or Tuesday, January 26, 2021.

                                              Respectfully submitted,



                                              s/ Vadim A. Glozman

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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2020 a true and correct copy of the foregoing
was filed electronically with the Clerk of the Court to be served by operation of the
Court’s electronic filing system upon the following: all Attorneys of record.


                                         /s/   Vadim A. Glozman




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